                 Case 6:06-cr-00026-JRH-CLR Document 826 Filed 06/23/08 Page 1 of 1
  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                                                                  Z@3JL!23 rM!2: 2i
                                                          Southern District of Georgia
                                                              Statesboro Division
                    United States of America                          )
                                v.                                    )
                                                                      ) Case No: CR606-00026-033
                      Willie Claude Lanier
                                                                      ) USM No: 12986-02 1
Date of Previous Judgment: December 10, 2007                          ) Shawn A, Kachmar
(Usc Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant     the Director of the Bureau of Prisons   the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
              DENIED. EJGRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                      the last judgment issued) of _________________ months is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29                                           Amended Offense Level:     29
Criminal History Category: I                                            Criminal History Category:
Previous Guideline Range: 87                    to 108 months           Amended Guideline Range 87 to 108 months
IL SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
  The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
  Other (explain):




III. ADDITIONAL COMMENTS
The defendant's motion is denied because his offense level was based solely on quantities of cocaine hydrochloride
and not cocaine base.



Except as provided above, all provisions of the judgment dated December 10, 2007, shall remain in effect.
IT IS SO ORDERED.

Order Date:        June 23, 2008
                                                                                                     gnature


                                                                        B. Avant Edenfield
                                                                        United States District Judge
EffectiveDate: _______________________                                  For the Southern District of Georgia
                    (if different from order date)                                       Printed name and title
